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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING


 HOMELAND INSURANCE COMPANY
 OF NEW YORK,

                Plaintiff,
 v.                                              CASE NO.: 15-CV-31-J

 POWELL HOSPITAL DISTRICT,
 POWELL VALLEY HEALTHCARE,
 INC., HEALTHTECH MANAGEMENT
 SERVICES, INC., JEFFREY HANSEN,
 M.D., and WILLIAM D. PATTEN,

                Defendants.


      HOMELAND INSURANCE COMPANY OF NEW YORK’S ANSWER AND
       AFFIRMATIVE DEFENSES TO COUNTERCLAIM OF HEALTHTECH
          MANAGEMENT SERVICES, INC. AND WILLIAM D. PATTEN


        As and for its Answer and Affirmative Defenses to the First Amended

Counterclaim of Defendants/Counterclaim Plaintiffs HealthTech Management Services,

Inc. (“HTMS”) and William D. Patten (“Patten”), Plaintiff/Counterclaim Defendant

Homeland Insurance Company of New York (“Homeland”), incorporates by reference

the allegations in its complaint for declaratory relief and denies each and every allegation

set forth in the First Amended Counterclaim except as expressly admitted or otherwise

pled herein, and responds to each correspondingly-numbered paragraph therein as

follows:

        1.     Admit.
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       2.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 2 of the Counterclaim and thus denies the same.

       3.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 3 of the Counterclaim and thus denies the same.

       4.     Admit, upon information and belief.

       5.     Admit, upon information and belief.

       6.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 6 of the Counterclaim and thus denies the same.

       7.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 7 of the Counterclaim and thus denies the same.

       8.     Admit only that Homeland has denied coverage to HealthTech and Patten

for certain Underlying Claims that involve Dr. Jeffrey Hansen.             The remaining

allegations are denied.

       9.     Admit only that HTMS has been named as a defendant in lawsuits filed by

the plaintiffs identified in Paragraph 8 of the Counterclaim.         Further answering,

Homeland states that the allegations in those lawsuits speak for themselves and any

allegations inconsistent therewith are denied.

       10.    Admit only that Patten has been named as a defendant in lawsuits filed by

the plaintiffs identified in Paragraph 10 of the Counterclaim.        Further answering,

Homeland states that the allegations in those lawsuits speak for themselves and any

allegations inconsistent therewith are denied.




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      11.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 11 of the Counterclaim and thus denies the same.

      12.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 12 of the Counterclaim and thus denies the same.

      13.    Admit only that Homeland issued the Primary and Excess policies

described in its Complaint for Declaratory Relief (collectively the “Homeland Policies”).

Further answering, Homeland states that the Homeland Policies are to be read as a whole

and speak for themselves; denies any allegations inconsistent with the terms of the

Homeland Policies; and denies any version of the facts pled in the Counterclaim

inconsistent with the Homeland Policies.

      14.    Admit only that HTMS is listed as an Additional Insured by Endorsement

to the Homeland Primary Policy. The remaining allegations are denied.

      15.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 15 of the Counterclaim and thus denies the same.

      16.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 16 of the Counterclaim and thus denies the same.

      17.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 17 of the Counterclaim and thus denies the same.

      18.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 18 of the Counterclaim and thus denies the same.




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      19.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      20.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      21.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      22.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      23.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      24.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      25.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.




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      26.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      27.    Admit only the allegations with respect to Homeland. Homeland lacks

knowledge or information sufficient to form a belief about the truth of the allegations

against UMIA and thus denies the same.

      28.    Admit.

      29.    Admit.

      30.    Admit only that the Harris and DuRose civil complaints were filed in court

on August 6, 2012 and September 20, 2013 respectively and that neither HTMS nor

Patten were named as defendants in those lawsuits.

      31.    Admit only that in denying coverage to HTMS and Patten, Homeland relied

upon exclusions D(1) and (D)(2). The remaining allegations are denied.

      32.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 32 of the Counterclaim and thus denies the same.

      33.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 33 of the Counterclaim and thus denies the same.

      34.    Admit.

      35.    Deny.

      36.    Admit only that in denying coverage to HTMS and Patten for the

Underlying Claims, Homeland relied upon the Additional Insured Endorsement. The

remaining allegations are denied.


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         37.     Admit only that Homeland issued the Homeland Policies.            Further

answering, Homeland states that the Homeland Policies are to be read as a whole and

speak for themselves; denies any allegations inconsistent with the terms of the Homeland

Policies; and denies any version of the facts pled in the Counterclaim inconsistent with

the determination that the Underlying Claims are not covered by the Homeland Policies.

         38.     Homeland admits only the existence of the complaints in the underlying

actions.       Further answering, Homeland states that those complaints are written

documents, which are the best evidence of their terms and speak for themselves, and any

allegations inconsistent therewith are denied.

         39.     Deny.

         40.     Homeland admits only the existence of the Stambaugh complaint number

27758.      Further answering, Homeland states that the allegations of Paragraph 40

paraphrase a written document, which is the best evidence of its terms and speaks for

itself, and any allegations inconsistent therewith are denied.

         41.     Deny.

         42.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 42 of the Counterclaim and thus denies the same.

         43.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 43 of the Counterclaim and thus denies the same.

         44.     Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 44 of the Counterclaim and thus denies the same.




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      45.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 45 of the Counterclaim and thus denies the same.

      46.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 46 of the Counterclaim and thus denies the same.

      47.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 47 of the Counterclaim and thus denies the same.

      48.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 48 of the Counterclaim and thus denies the same.

      49.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 49 of the Counterclaim and thus denies the same.

      50.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 50 of the Counterclaim and thus denies the same.

      51.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 51 of the Counterclaim and thus denies the same.

      52.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 52 of the Counterclaim and thus denies the same.

      53.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 53 of the Counterclaim and thus denies the same.

      54.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 54 of the Counterclaim and thus denies the same.

      55.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 55 of the Counterclaim and thus denies the same.


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      56.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 56 of the Counterclaim and thus denies the same.

      57.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 57 of the Counterclaim and thus denies the same.

      58.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 58 of the Counterclaim and thus denies the same.

      59.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 59 of the Counterclaim and thus denies the same.

      60.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 60 of the Counterclaim and thus denies the same.

      61.    Admit only that Homeland has denied coverage for certain Underlying

Claims in part because certain Underlying Claims, the DuRose Claim and the Harris

Claim are “Related Claims” within the meaning of the Homeland Policies, which Related

Claims are deemed a single claim made before the August 1, 2013 inception date of the

Homeland Policies. The remaining allegations are denied.

      62.    Admit only that allegations regarding the credentialing of Dr. Hansen were

made in claims first made prior to the inception date of the Homeland Policies. The

remaining allegations are denied.

      63.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 63 of the Counterclaim and thus denies the same.

      64.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 64 of the Counterclaim and thus denies the same.


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          65.   Admit only that a controversy exists between HTMS, Patten and Homeland

regarding coverage for the Underlying Claims.

                                        Claim I
                                   Breach of Contract

          66.   Homeland restates the allegations contained in Paragraphs 1 through 65

herein.

          67.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, admit only that Homeland issued the Homeland Policies.

The remaining allegations are denied.      Further answering, Homeland states that the

Homeland Policies are to be read as a whole and speak for themselves; denies any

allegations inconsistent with the terms of the Homeland Policies; and denies any version

of the facts pled in the Counterclaim inconsistent with the determination that the

Underlying Claims are not covered by the Homeland Policies.

          68.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, admit only that HTMS is listed as an Additional Insured

by Endorsement to the Homeland Primary Policy, and that any coverage as an Additional

Insured is limited by the terms of that Endorsement. The remaining allegations are

denied.




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      69.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      70.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      71.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      72.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      73.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      74.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

      75.    Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.




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                                        Claim II
                        Bad Faith – Breach of Insurance Contract

          76.   Homeland restates the allegations contained in Paragraphs 1 through 75

herein.

          77.   Paragraph 77 of the Counterclaim states a legal conclusion for which no

response is required. To the extent a response is required, the allegations are denied.

          78.   Paragraph 78 of the Counterclaim states a legal conclusion for which no

response is required. To the extent a response is required, the allegations are denied.

          79.   Paragraph 79 of the Counterclaim states a legal conclusion for which no

response is required. To the extent a response is required, the allegations are denied.

          80.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny. Further answering, Homeland states it made its

coverage decision in good faith and has acted reasonably.

          81.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny. Further answering, Homeland states it made its

coverage decision in good faith and has acted reasonably.

          82.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny that Homeland has any obligation to settle the

underlying malpractice claims regardless of the amounts of the demands as the



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underlying malpractice claims are not covered by the Homeland Policies and that by this

action Homeland has sought a judicial declaration of its rights and obligations under the

Homeland Policies with regard to the Underlying Claims.

          83.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny that Homeland has any obligation to settle the

underlying malpractice claims regardless of the amounts of the demands as the

underlying malpractice claims are not covered by the Homeland Policies and that by this

action Homeland has sought a judicial declaration of its rights and obligations under the

Homeland Policies with regard to the Underlying Claims. Further answering, Homeland

states that it made its coverage decision in good faith and has acted reasonably.

          84.   Deny. Further answering, Homeland states it made its coverage decision in

good faith and has acted reasonably.

                                       Claim III
                        Attorney Fees and Pre-Judgment Interest

          85.   Homeland restates the allegations contained in Paragraphs 1 through 84

herein.

          86.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny.

          87.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the



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allegations against Homeland, admit that Homeland has denied coverage to HTMS and

Patten for the Underlying Claims.

          88.   Homeland lacks knowledge or information sufficient to form a belief about

the truth of the allegations against UMIA and thus denies the same. With regard to the

allegations against Homeland, deny. Further answering, Homeland states it made its

coverage decision in good faith and has acted reasonably.

          89.   Deny. Further answering, Homeland states it made its coverage decision in

good faith and has acted reasonably.

                                         Claim IV
                                   Declaratory Judgment

          90.   Homeland restates the allegations contained in Paragraphs 1 through 89

herein.

          91.   Admit that a controversy exists between HTMS, Patten and Homeland

regarding coverage for the Underlying Claims. The remaining allegations are denied.

          92.   Paragraph 92 of the Counterclaim states a legal conclusion and/or a

description of the relief requested for which no response is required. To the extent a

response is required, the allegations are denied.

                               AFFIRMATIVE DEFENSES

          1.    Counterclaim Plaintiffs have failed to state a claim upon which relief may

be granted.

          2.    Counterclaim Plaintiffs’ claims may be barred, in whole or in part, based on

the principles of the “known loss” doctrine or similar principles.



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          3.    Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of

waiver, estoppel, unclean hands and/or laches.

          4.    Counterclaim Plaintiffs’ claims are barred, limited or precluded or in any

event, any possible relief is limited by the provisions and terms of the Homeland Policies.

          5.    Counterclaim Plaintiffs are not entitled, under the Homeland policies, or in

law, or in equity, to recover from Homeland its costs, expenses and attorney’s fees in this

action.

          6.    Counterclaim Plaintiffs’ bad faith claims are barred because Homeland

made its coverage decision in good faith and has acted reasonably.

          7.    Homeland has reserved and continues to reserve all rights and defenses that

may be available under its policies or applicable law.

          8.    Homeland may have additional defenses that cannot be currently

articulated, and, therefore, Homeland reserves the right to amend its Answer to this

Counterclaim to assert additional affirmative defenses.

          WHEREFORE, Homeland respectfully prays for judgment in its favor and against

Counterclaim Plaintiffs as follows:

          1.    Dismissing with prejudice all of Counterclaim Plaintiffs’ claims against

                Homeland;

          2.    Awarding Homeland its costs, disbursements, and reasonable attorney’s

                fees incurred in this matter; and

          3     For such other just and equitable relief as the Court deems appropriate.




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Dated: August 10, 2015       s/Tiffany M. Brown
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                             CERTIFICATE OF SERVICE


       I hereby certify that on this 10th day of August, 2015, I electronically filed the

foregoing with the clerk of the court by using the CM/ECF system, which will send

notice of electronic filing to all CM/ECF participants.



                                                 s/Tiffany M. Brown




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